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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


 UNITED STATES OF AMERICA       :
                                :
 v.                             :              Case No.: 8:24-CR-276-VMC-LSG
                                :
 Brock David Fischer            :
 _______________________________:

              DEFENDANT BROCK DAVID FISCHER’S
   NOTICE TO THE COURT REGARDING ALLOCUTION STATEMENT

       COMES NOW, the Defendant, BROCK DAVID FISCHER, by and through

 his undersigned counsel, and respectfully files this his notice to the court regarding

 his allocution statement for sentencing and in support states as follows:

    1. Enclosed please find the Defendant’s allocution statement.
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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY on May 5, 2025, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system, which will then send

notice of electronic filing to all counsel of record.

                                                        Respectfully submitted,

                                                        /s/ Mark J. O'Brien
                                                        Mark J. O'Brien, Esquire
                                                        Florida Bar No.: 0160210
                                                        O’Brien Hatfield PA
                                                        511 West Bay Street
                                                        Suite 330
                                                        Tampa, Florida 33606
                                                        Direct: (813) 228-6989
                                                        Email: mjo@markjobrien.com




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